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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF NEW YORK

                  HONORABLE FREDERICK J. SCULLIN, JR.

                  UNIFORM PRETRIAL SCHEDULING ORDER


 Andrea J. Nussinow

                                                          Civil No. 19-CV-332
 vs.                                                                FJS/CFH
 County of Columbia, et al

       Counsel for all parties having reported on the status of this action in
compliance with the Court’s direction, and the Court having considered the positions
of the respective counsel regarding a schedule for the progression of the case,

       THE COURT HEREBY ORDERS that:

1) THE DEADLINES SET IN THIS SCHEDULING ORDER SUPERSEDE THE
DEADLINES SET FORTH IN RULE 26(a)(3) OF THE FEDERAL RULES OF CIVIL
PROCEDURE AND ARE FIRM AND WILL NOT BE EXTENDED, EVEN BY
STIPULATION OF THE PARTIES, ABSENT GOOD CAUSE. See Fed. R. Civ. P.
16(b).

2) VENUE MOTIONS, if any, are to be filed within sixty (60) days of the date of
this Order following the procedures set forth in Local Rule 7.1 (b)(2) and are to be
made returnable before the assigned Magistrate Judge.

3) JURISDICTION MOTIONS, if any, are to be filed within sixty (60) days of the
date of this Order following the procedures set forth in Local Rule 7.1 (b)(1) (unless
a party who is not an attorney is appearing pro se, in which case that party should
follow the procedures set forth in Local Rule 7.1 (b)(2)), and the parties are to make
any such motions returnable before Senior Judge Scullin.

4) JOINDER OF PARTIES: The parties shall file any motions to join parties in this
action on or before June 26, 2020.

5) AMENDMENT OF PLEADINGS: The parties shall file any motions to amend any
pleading in this action on or before June 26, 2020.

6) DISCOVERY:

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Mandatory Disclosures must be exchanged by June 1, 2020.

Initial Written Discovery Demands must be served by June 1, 2020.

The parties are to complete all discovery in this matter on or before March
26, 2021. The parties must serve discovery requests a sufficient number of
days before this deadline to allow the responding parties to serve their
responses before the cut-off. Please refer to Local Rule 16.2 (Discovery Cut-
Off).

      Special procedures for management of expert witnesses:

       There will be binding disclosure of the identity of expert witnesses
(including a curriculum vitae) as set forth below.

      (a) Expert Reports. With regard to experts whom the parties retain or
      specially employ to provide expert testimony in the case or whose
      duties as an employee of one of the parties regularly involve giving
      expert testimony:

      (1) No later than 90 days prior to the discovery deadline set in
      paragraph 6 above, PLAINTIFF(S) shall identify any expert(s) and,
      unless waived, shall serve on the other parties the expert’s written
      report pursuant to Rule 26(a)(2)(B) of the Federal Rules of Civil
      Procedure.

        Note: When a party expects to call a treating physician as a witness,
the party must identify that treating physician in accordance with this rule.
The Court encourages, but does not require, the parties to produce a treating
physician’s written reports, pursuant to Rule 26(a)(2)(B), as an aid to
settlement. In the case of any treating professional or other expert witness
who is not required by the court’s rules to provide a written report, the party
who anticipates calling that witness must also disclose, at least 90 days prior
to the close of discovery, the subject matter on which the the party expects the
witness to present evidence under Federal Rule of Evidence 702, 703, or 705
and a summary of the facts and opinions to which the witness is expected to
testify, pursuant to Fed. R. Civ. P. 26(a)(2)©).

      (2) No later than 45 days prior to the discovery deadline set in
      paragraph 6 above, DEFENDANT(S) shall identify any expert(s) and,
      unless waived, shall serve on the other parties the expert’s written
      report pursuant to Rule 26(a)(2)(B) of the Federal Rules of Civil
      Procedure.

      (3) No later than 30 days prior to the discovery deadline set in


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             paragraph 6 above, ALL PARTIES must identify all experts who will
             contradict or rebut evidence on the same subject matter as the experts
             whom the other parties have identified under subparagraphs 6(a)(1)
             and (2) above and, unless waived, shall serve on the other parties the
             expert’s written report pursuant to Rule 26(a)(2)(B) of the Federal Rules
             of Civil Procedure.

             (4) No deposition of any experts shall be taken until AFTER the
             exchange of the expert reports, UNLESS THE PARTIES AGREE.

             (5) Motions to preclude expert witness testimony must be filed and
             served on or before the dispositive motion deadline as set forth in
             paragraph seven (7) below.

             (b) The failure to comply with the deadlines set forth in subparagraph
             (a) above may result in the imposition of sanctions, including the
             preclusion of testimony, pursuant to Rule 16(f) of the Federal Rules of
             Civil Procedure.

             ©) In order to avoid the possibility of the unavailability of an expert
             witness at the time set for trial, counsel may preserve the testimony of
             such witness as outlined in 11(B)(2) below for use at trial. In the
             absence of same, the trial will proceed without such testimony.

7) MOTIONS other than those made under paragraphs 2 and 3 above, are to be
filed on or before May 28, 2021.

If no dispositive motion(s) are filed, the motion filing deadline becomes the Trial
Ready Date. (See Trial Date at 8(a) below.) If dispositive motion(s) are filed,
PLAINTIFF’S COUNSEL shall contact Senior Judge Scullin’s Courtroom Clerk. (See
Dispositive Motions at 7(b) below).

      (a) NON-DISPOSITIVE MOTIONS. The parties shall NOT file any non-
      dispositive motions (except venue motions -paragraph 2 above- and motions
      for injunctive relief) until after a conference with the Magistrate Judge, which
      the parties shall arrange through the Courtroom Deputy Clerk assigned to the
      Magistrate Judge. Before requesting such a conference to resolve discovery
      disputes, the parties must have complied with Local Rule 7.1 (d).

      Non-dispositive motion(s), including discovery motions, shall be filed in
accordance with Local Rule 7.1 (b)(2); and, except for motions for injunctive relief,
the motion(s) shall be made returnable before the assigned Magistrate Judge. Any
motions for injunctive relief shall be made returnable before Senior Judge Scullin,
unless the case has been referred to a Magistrate Judge pursuant to 28 U.S.C. §
636©) (“consent” jurisdiction).


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      (b) DISPOSITIVE MOTIONS. The parties shall file dispositive motions in
      accordance with Local Rule 7.1(b) and shall make such motions returnable
      before Senior Judge Scullin.

8) TRIAL DATE:

      (a) When no dispositive motion(s) is filed, the motion filing deadline
      becomes the trial ready date. The Court will issue a notice scheduling a Final
      Pretrial Conference and Trial Date. Counsel may contact Senior Judge
      Scullin’s Courtroom Clerk, at any time, to request that the Court schedule a
      settlement conference or a trial date.

      (b) When a dispositive motion is filed and the motion filing deadline has
      expired, the Court will mark the case trial ready upon issuance of the order
      disposing of the motion. PLAINTIFF’S COUNSEL shall contact Senior Judge
      Scullin’s Courtroom Clerk within one week after receiving the Court’s decision
      on the motion(s) to request a scheduling conference, if the court does not set
      a date for such conference in its order. Senior Judge Scullin will address any
      request for an extension of the Rule 16 Uniform Pretrial Order deadline(s) at
      the time of the conference.

      ©) When a dispositive motion is filed and the motion filing deadline HAS
      NOT expired, the case will continue on the pretrial schedule previously set in
      the Rule 16 Uniform Pretrial Scheduling Order. The parties should address
      any request for an extension of the Rule 16 Uniform Pretrial Order deadline(s)
      to the assigned Magistrate Judge.

The parties anticipate that the trial will take approximately 6 day(s) to complete.
This is a jury trial. The parties request the trial be held in Albany, New York.

TRIAL READY DATE: (See paragraph 7)

Consent to Magistrate Judge: In accordance with the provisions of 28 U.S.C.
§636©) and Rule 73 of the Federal Rules of Civil Procedure, you are notified that a
United States Magistrate Judge assigned to this case is available to conduct any or
all proceedings in this case, including a jury or nonjury trial, and to order the entry
of a final judgment. Exercise of this jurisdiction by a Magistrate Judge is only
permitted by the voluntary consent of all parties. An appeal from a judgment entered
by a Magistrate Judge shall be taken directly to the United States Court of Appeals
for the judicial circuit in the same manner as an appeal from any judgment entered
in this District Court. A Consent to Proceed before a Magistrate Judge form is
attached to this order.

8a) Witness Availability for Trial: The unavailability of any witness, expert or
otherwise, will not be grounds for a continuance. To avoid a trial going forward


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without the testimony of an unavailable witness, counsel shall preserve the
appropriate testimony, for trial, by written or video-taped deposition.

9) SETTLEMENT CONFERENCE: A settlement conference may be scheduled at
the Court’s direction or by the request of counsel AT ANY TIME. In addition to
counsel, a representative of each party with settlement authority shall attend the
settlement conference, OR be available by telephone. A PRETRIAL/SETTLEMENT
CONFERENCE STATEMENT FORM IS ATTACHED, AND THE PARTIES SHOULD
SUBMIT THIS FORM TO THE COURTROOM CLERK’S ATTENTION ONE WEEK
PRIOR TO THE SCHEDULED CONFERENCE.

10) ASSESSMENT OF JUROR COSTS: The Court advises the parties that,
pursuant to Local Rule 47.3, whenever any civil action scheduled for a jury trial is
postponed, settled, or otherwise disposed of in advance of the actual trial, then,
except for good cause shown, the Court shall assess all juror costs, including
Marshal’s fees, mileage, and per diem, against the parties and/or their counsel as
the Court directs, unless the parties or their counsel notify the Court and the Clerk’s
Office at least one full business day prior to the day on which the action is scheduled
for trial in time for the Court to advise the jurors that it will be unnecessary for them
to attend.

11)   PRETRIAL SUBMISSIONS:

       The parties shall electronically file all pretrial submissions, unless
otherwise noted.

     Non-Jury Trials: One week before the Final Pretrial Conference date,
counsel shall file the following:

•     Joint Pretrial Stipulation (see subparagraph A below);
•     Proposed Findings of Fact and Conclusions of Law;
•     Depositions to be used at trial (for filing see subparagraph E below);
•     Witness List (see subparagraph B(1) below);
•     Exhibit List (see subparagraph C(1) below);
•     Trial Brief concerning evidentiary issues (see subparagraph F below);
•     Motions in Limine (see subparagraph D below).


        Jury Trials: One week before the Final Pretrial Conference Date, counsel
shall file the following:

•     Joint Pretrial Stipulation (see subparagraph A below);
•     Court Ordered Voir Dire - (see Attachment #1);
•     Proposed Voir Dire;
•     Depositions to be used at trial (for filing see subparagraph E below);


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•    Witness List (see subparagraph B(1) below);
•    Exhibit List (see subparagraph C(1) below);
•    Trial Brief (see subparagraph F below);
•    Requests to Charge, including proposed Special Verdict Questionnaire (for
     filing see subparagraph G below);
•    Motions in Limine (see subparagraph D below).


(A) PRETRIAL STIPULATIONS: Counsel for all parties shall subscribe and file a
joint pretrial stipulation, which shall contain:

     (1) The basis of federal jurisdiction;

     (2) A list of all exhibits which the parties can stipulate into evidence or which
     the parties will offer without objection as to foundation;

     (3) Relevant (a) facts not in dispute, (b) facts in dispute, and ©) issues of law
     that the Court must considered and apply.

(B) WITNESSES:

     (1) One week before the Final Pretrial Conference date, counsel shall file
     the following information regarding the witnesses whom they may call to testify
     at trial other than solely for impeachment purposes.

     (a) The name and, if not previously provided, the address (city and state) and
     telephone number of each witness, separately identifying those whom the
     party expects to present and those whom the party may call if the need arises,
     as well as a brief summary of the testimony that the party expects each
     witness to offer.

     (b) The designation of those witnesses whose testimony the party expects to
     present by means of a deposition (including video-taped deposition),
     specifically identifying the pertinent portions of the deposition testimony that
     the party will offer.

     (2) The unavailability of any witness, expert or otherwise, will not be grounds
     for a continuance. In order to avoid the possibility of going forward with the
     trial without the testimony of an unavailable witness, counsel, where
     appropriate, shall preserve same before the trial ready date by written or
     video-taped deposition for possible use at trial. (Please refer to the attached
     instruction sheet for the use of video-taped depositions.) NOTE: Pursuant
     to Paragraph 8(a) above, the trial date may be advanced to the motion
     filing deadline if the parties do not file any dispositive motions.



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©)    EXHIBITS The parties shall premark all exhibits for identification in the
      manner prescribed below. Counsel may choose to prepare an exhibit binder
      for each juror or present the exhibits using the courtroom evidence
      technology. All juror exhibit binders should be brought to Court on the first
      day of trial. Additionally, the parties shall provide Senior Judge Scullin’s
      Courtroom Clerk with two complete sets of the exhibits at the beginning of the
      trial regardless of whether or not courtroom technology is used to present
      evidence.

       The opposing party shall have inspected and copied the exhibits at their
expense (unless waived), NO LATER THAN ONE WEEK PRIOR TO THE DATE
SET FOR THE FINAL PRETRIAL CONFERENCE. The parties shall assemble in
binders, store on electronic media, such as CDs or DVDs, or otherwise prepare for
use with the courtroom evidence technology (see below (C)(1)) all documentary
materials, including, but not limited to, documents, photographs, charts, and
diagrams that they intend to use as exhibits or to use during the court of trial.
Counsel may visit the Court’s website at www.nynd.uscourts.gov for
information about the type of electronic equipment that is available in
courtroom #5. The parties shall properly mark each document in the lower right
corner for identification purposes as directed below. In cases involving voluminous
documents, the parties should consult with Senior Judge Scullin’s Courtroom Clerk
for the proper procedure to follow.

      (1) COURTROOM TECHNOLOGY: If the parties intend to use the courtroom
      equipment to display exhibits at trial, the Court directs counsel to contact the
      Courtroom Clerk well in advance of the trial date to make arrangements for
      testing the equipment. The Court does not provide a person to run the
      equipment. The courtroom is equipped with a) DVD unit, b) visual evidence
      presenter/document camera, c) VGA connections for laptops (no internet),
      and d) interpreter/hearing impaired headsets. All non-proprietary DVD’s (i.e.,
      .avi, .mp3, .mp4, and .wmv) should be compatible with the Court’s DVD
      player, however, prior to the trial date, counsel must confirm
      compatibility. If any portion of the DVD needs to be redacted, it is
      counsel’s responsibility to provide a redacted copy for use at trial.
      Counsel may choose to use the visual evidence presenter/document camera
      to publish exhibits to the jury instead of or in addition to preparing exhibit
      binders. The visual presenter/camera allows counsel to display documents,
      photos, objects, x-rays, and electronic presentations on monitors located
      throughout the courtroom, including the jury box. Touch screen monitors are
      located at the podium and witness stand which allow counsel and the witness
      to place marks on an exhibit that is displayed on the monitor by touching the
      screen. The VGA laptop connections are available at the podium and at the
      counsel tables (no internet). Audio cables are not available. Counsel must
      provide their own, if necessary. If you are presenting evidence through a
      Macintosh laptop, a video connector/adaptor is required and is not provided

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      by the Court. PLEASE NOTE: In the event counsel’s equipment is not
      compatible with the courtroom equipment, the Court is not responsible for
      supplying additional electronic parts to remedy the problem, which is why it
      is critical that counsel test the equipment well in advance of trial.
      Additional courtroom technology information may be obtained on the court’s
      webpage: http://www.nynd.uscourts.gov/courtroom-technology.

      (2) EXHIBIT LISTS: One week before the Final Pretrial Conference date,
      counsel shall file an Exhibit List. The parties shall list the exhibits on the form
      that the Court has prescribed, a copy of which is attached to this Order.
      Counsel are to supply all the requested information with the exception of the
      columns with the headings “Marked for Identification”, “Admitted Into
      Evidence”, and “Witness”, which should remain blank.

      (3) EXHIBITS MARKERS:                 Counsel may use any style exhibit
      marker/sticker. The Court has attached a proposed marker to this order.
      The parties shall assign numbers to all exhibits, using one of the following
      prefixes: “P” for plaintiff, “D” for defendant, and “G” for Government (U.S.
      Attorney).

      Ex: Plaintiff should label its exhibits as follows: P-1, P-2, P-3, etc. Defendant
      should label its exhibits as follows: D-1, D-2, D-3, etc. The Government
      should label its exhibits as follows: G-1, G-2, G-3, etc.

      The parties shall affix the exhibit marker, whenever possible, to the lower right-
hand corner of the exhibit. If doing so would result in covering any information on
the exhibit, the parties should affix the marker to the reverse side of the exhibit.

*NOTE: During the course of trial, the Courtroom Clerk shall take charge of all
of the exhibits that the Court receives into evidence. At the conclusion of the
trial, the Courtroom Clerk will immediately return all of the exhibits to the
proper parties. It is the responsibility of the parties to maintain the exhibits
and to produce the exhibits for any appeal.

(D)   MOTIONS IN LIMINE: One week before the Final Pretrial Conference
      date, counsel shall file any motions in limine, citing the applicable rules of
      evidence and case law. Counsel shall file any response to a motion in limine
      no later than three days before the date set for the Final Pretrial
      Conference. THE PARTIES MAY NOT OTHERWISE FILE MOTIONS IN
      LIMINE WITHOUT LEAVE OF THE COURT.

(E)   DEPOSITIONS: One week before the Final Pretrial Conference date,
      counsel shall submit to the Clerk for forwarding to the Judge’s chambers,
      copies of depositions (including video-taped/DVD depositions) that they intend
      to use at trial that are in dispute. Please note that these depositions will be

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      lodged with the Court and returned to counsel at the conclusion of trial. To
      the extent possible, the parties should resolve any objections that they have.
      The parties shall present any areas of unresolved disagreement to Senior
      Judge Scullin at the Final Pretrial Conference. The parties shall bring all other
      depositions, including video-taped/DVD depositions, on the first date of trial.
      Counsel shall provide the Court with an additional copy of all video-
      taped/DVD deposition testimony on the first day of trial for filing. (See
      attached instruction sheet for the use of video-taped/DVD depositions.

(F)   TRIAL BRIEFS: One week before the Final Pretrial Conference date,
      counsel shall file a trial brief containing argument and citations to the
      applicable rules of evidence and case law regarding any and all disputed
      issues of law. The parties should also include in their trial briefs any
      evidentiary issues that they expect to arise.

(G)   REQUESTS TO CHARGE: One week before the Final Pretrial Conference
      date, counsel shall file a request to charge and a proposed Special Verdict
      Questionnaire. The request to charge need only include instructions that are
      specific to the law in this case regarding liability, damages, and any unusual
      issues. The parties do not need to include instructions that are relevant to all
      cases, e.g., instructions regarding burden of proof, types of evidence, and the
      role of the jury.

(H)   REQUEST FOR REALTIME TRANSCRIPTS: One week before the trial
      date, counsel may request that the court reporter provide a live realtime
      transcript or an end-of-day transcript. There is a charge for these services
      and counsel must make financial arrangements with the court reporter
      prior to trial. When requesting a live realtime transcript, the following is
      required: 1) litigation support software, (i.e., LiveNote, Bridge or Caseview);
      2) hardware (i.e., if laptop does not have a serial port, a USB to serial adaptor
      is required). Counsel may obtain additional courtroom technology information
      on the Court’s webpage:
      http://www.nynd.uscourts.gov/courtroom-technology.

(I)   ALTERNATIVE DISPUTE RESOLUTION: The assigned Magistrate Judge
      has exempted this case from the Court’s Mandatory Mediation Program.

STATUS REPORT: Counsel are directed to report to the Court as to the status of
the case. The report is to be submitted in letter form and filed electronically with the
Clerk of the Court, to attention of Judge Hummel. The report should include a
discussion of the discovery completed to date, any that is scheduled, and any
settlement negotiations that have occurred or are scheduled. STATUS REPORT is
to be submitted by November 6, 2020.




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DATED: May 4, 2020
       Albany, NY




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                           COURT ORDERED VOIR DIRE
                       TO BE USED BY THE JUDGE AT TRIAL

CASE TITLE: Andrea J. Nussinow vs. County of Columbia, et al
CIVIL ACTION NO.: 19-CV-332
ASSIGNED JUDGE OR MAGISTRATE JUDGE: FREDERICK J. SCULLIN, JR.

                                     ATTACHMENT #(1)

        Each attorney is required to submit the following information on behalf of his/her client
for use by the Court during Voir Dire and must be filed with the Court one week before the Final
Pretrial Conference, or any other date set by the Court.

NAMES AND ADDRESSES OF ALL PARTIES TO THE LAWSUIT:




(use additional page if necessary)

YOUR NAME, FIRM NAME, ADDRESS AND THE NAME OF ANY PARTNER OR ASSOCIATE
WHO MAY BE AT COUNSEL TABLE DURING THE COURSE OF THE TRIAL.




(use additional page if necessary)

SET FORTH THE DATE OF THE OCCURRENCE, THE PLACE OF THE OCCURRENCE AND
A BRIEF STATEMENT OF THE EVENTS CENTRAL TO THE LITIGATION.




(use additional page if necessary)

SET FORTH THE NAMES AND ADDRESSES OF ALL LAY WITNESSES TO BE CALLED.




(use additional page if necessary)
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SET FORTH THE NAMES AND ADDRESSES OF ALL EXPERT WITNESSES TO BE
CALLED GIVING A BRIEF DESCRIPTION OF THEIR AREAS OF EXPERTISE.




(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY CAUSE OF ACTION IN THE
COMPLAINT.




(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY AFFIRMATIVE DEFENSE
ASSERTED AS WELL AS A STATEMENT ADDRESSING ANY COUNTERCLAIMS RAISED
IN THE ANSWER.




(use additional page if necessary)




PLEASE TAKE NOTICE that any delay in jury selection occasioned by the failure to provide
this information will be explained to the jury as to the extent of the delay and the attorney
causing same and if the delay causes a one (1) day or more postponement of this trial,
appropriate monetary sanctions will be imposed by the Court.



Submitted by: ___________________________________

Date: _______________________
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FINAL PRETRIAL ORDER - CONTINUED...


             INSTRUCTIONS FOR THE USE OF VIDEO TAPED DEPOSITIONS


COUNSEL ARE TO VIEW ALL VIDEOTAPES WHICH MAY BE OFFERED INTO EVIDENCE AT
THE TIME OF TRIAL. ONE WEEK BEFORE THE DATE SET FOR THE FINAL PRETRIAL
CONFERENCE, COUNSEL SHALL SUBMIT TO THE CLERK, WHO WILL FORWARD TO THE
JUDGE’S CHAMBERS, DEPOSITIONS TO BE USED IN TRIAL THAT ARE IN DISPUSTE
(INCLUDING    VIDEO-TAPED/DVD    DEPOSITIONS).   PLEASE   NOTE   THAT   THESE
DEPOSITIONS WILL BE LODGED WITH THE COURT AND RETURNED TO COUNSEL AT THE
CONCLUSION OF TRIAL. TO THE EXTENT POSSIBLE, OBJECTIONS ARE TO BE RESOLVED
BETWEEN THE PARTIES.       AREAS OF UNRESOLVED DISAGREEMENT SHALL BE
PRESENTED TO THE COURT FOR RULING AT THE FINAL PRETRIAL CONFERENCE. THE
PARTIES SHALL BRING ALL OTHER DEPOSITIONS, INCLUDING VIDEO-TAPED/DVD
DEPOSITIONS, TO COURT ON THE FIRST DAY OF TRIAL. COUNSEL SHALL PROVIDE THE
COURT WITH AN ADDITIONAL COPY OF ALL VIDEO-TAPED/DVD DEPOSITION TESTIMONY
ON THE FIRST DAY OF TRIAL FOR FILING.




THE CLERKS OFFICE HAS AVAILABLE A DVD PLAYER AND TELEVISION FOR USE AT TRIAL.
PLEASE BE ADVISED THAT YOU MUST PROVIDE A PERSON TO RUN THE EQUIPMENT
DURING THE COURSE OF THE TRIAL.         ADDITIONAL COURTROOM TECHNOLOGY
INFORMATION        MAY   BE     OBTAINED    ON   THE   COURT’S     W EBPAGE
WWW.NYND.USCOURTS.GOV




                   ELECTRONIC VISUAL EVIDENCE PRESENTER


IN ADDITION TO THE VIDEO EQUIPMENT NOTED ABOVE, THE COURT HAS AVAILABLE A
VISUAL EVIDENCE PRESENTER WHICH WILL ALLOW COUNSEL TO DISPLAY PHOTOS
(NEGATIVES OR POSITIVES), DOCUMENTS, X-RAYS, AND 3-D OBJECTS , WITHOUT WIRES,
ON TELEVISIONS PLACED THROUGHOUT THE COURTROOM.           THIS EQUIPMENT IS
AVAILABLE AT THE COURTHOUSES IN ALBANY, SYRACUSE, UTICA AND BINGHAMTON.
USE OF THE VISUAL PRESENTER MAY BE REQUIRED BY THE TRIAL JUDGE PRESIDING
OVER YOUR CASE. FOR FURTHER INFORMATION ON THE USE OF THIS EQUIPMENT,
PLEASE CONTACT THE COURTROOM DEPUTY CLERK FOR THE ASSIGNED TRIAL JUDGE.
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  UNITED STATES DISTRICT COURT          UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK         NORTHERN DISTRICT OF NEW YORK

CASE NO. 19-CV-332                   CASE NO. 19-CV-332

PLAINTIFF EXHIBIT NO. __________     DEFENDANT EXHIBIT NO. __________

DATE ENTERED __________              DATE ENTERED __________
     JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
            DEPUTY CLERK                         DEPUTY CLERK


  UNITED STATES DISTRICT COURT          UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK         NORTHERN DISTRICT OF NEW YORK

CASE NO. 19-CV-332                   CASE NO. 19-CV-332

PLAINTIFF EXHIBIT NO. __________     DEFENDANT EXHIBIT NO. __________

DATE ENTERED __________              DATE ENTERED __________
     JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
            DEPUTY CLERK                         DEPUTY CLERK


  UNITED STATES DISTRICT COURT          UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK         NORTHERN DISTRICT OF NEW YORK

CASE NO. 19-CV-332                   CASE NO. 19-CV-332

PLAINTIFF EXHIBIT NO. __________     DEFENDANT EXHIBIT NO. __________

DATE ENTERED __________              DATE ENTERED __________
     JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
            DEPUTY CLERK                         DEPUTY CLERK


  UNITED STATES DISTRICT COURT          UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK         NORTHERN DISTRICT OF NEW YORK

CASE NO. 19-CV-332                   CASE NO. 19-CV-332

PLAINTIFF EXHIBIT NO. __________     DEFENDANT EXHIBIT NO. __________

DATE ENTERED __________              DATE ENTERED __________
     JOHN M. DOMURAD, CLERK               JOHN M. DOMURAD, CLERK

BY: ______________________________   BY: ______________________________
            DEPUTY CLERK                         DEPUTY CLERK
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                                                United States District Court
                                               Northern District Of New York
Case No. 19-CV-332
Date: _________________
Presiding Judge: Frederick J. Scullin, Jr.

               Plaintiff                        Defendant                       Court

  Exhibit     Marked for       Admitted Into         Remarks           Witness             Exhibit Description
   No.       Identification     Evidence




Exhibits Returned to Counsel (Date): _____________

Signature: _________________________
                       Case 1:19-cv-00332-FJS-CFH Document 28 Filed 05/04/20 Page 17 of 25

Case No. 19-CV-332
                                                                                               Page ____ of ____



  Exhibit    Marked for      Admitted Into           Remarks    Witness              Exhibit Description
   No.      Identification    Evidence




Exhibits Returned to Counsel (Date): _____________

Signature: _________________________
                       Case 1:19-cv-00332-FJS-CFH Document 28 Filed 05/04/20 Page 18 of 25

                          PRETRIAL & SETTLEMENT CONFERENCE STATEMENT
                                       ( NOT FOR PUBLIC VIEW )
                        ** THIS DOCUMENT WILL BE PROVIDED TO THE CLERK AND
                                NOT FILED IN ACCORDANCE WITH L.R. 5.7

CASE NAME: Andrea J. Nussinow vs. County of Columbia, et al

ACTION NO.: 19-CV-332

ASSIGNED JUDGE: FREDERICK J. SCULLIN, JR.

ASSIGNED MAGISTRATE JUDGE: CHRISTIAN F. HUMMEL

        Each Attorney is required to submit the following information on behalf of his or her client in short, concise form, in
order to present a brief overview of the facts of the case. This information will be used by the Court during the scheduled
final pretrial/settlement conference and therefore must be provided to the Court five (5) days in advance of the
conference date.

PARTY/PARTIES REPRESENTED;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

A BRIEF PERSONAL HISTORY REGARDING YOUR CLIENT(S);

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
                      Case 1:19-cv-00332-FJS-CFH Document 28 Filed 05/04/20 Page 19 of 25

(use additional page if necessary)

A BRIEF STATEMENT OF THE FACTS OF THE CASE;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)
                      Case 1:19-cv-00332-FJS-CFH Document 28 Filed 05/04/20 Page 20 of 25

A BRIEF STATEMENT OF THE CLAIMS AND DEFENSES, i.e., STATUTORY OR OTHER GROUNDS UPON WHICH
THE CLAIMS ARE FOUND; AND EVALUATION OF THE PARTIES’ LIKELIHOOD OF PREVAILING ON THE CLAIMS
AND DEFENSES; AND A DESCRIPTION OF THE MAJOR ISSUES IN DISPUTE; SET FORTH ANY DEMANDS OR
OFFERS FOR SETTLEMENT

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

A SUMMARY OF THE PROCEEDINGS TO DATE;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

AN ESTIMATE OF THE COST AND TIME TO BE EXPENDED FOR FURTHER DISCOVERY, PRETRIAL AND TRIAL;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

A BRIEF STATEMENT OF THE FACTS AND ISSUES UPON WHICH THE PARTIES AGREE;
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)
                      Case 1:19-cv-00332-FJS-CFH Document 28 Filed 05/04/20 Page 21 of 25

ANY DISCREET ISSUES WHICH, IF RESOLVED, WOULD AID IN THE DISPOSITION OF THE CASE;
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)
                      Case 1:19-cv-00332-FJS-CFH Document 28 Filed 05/04/20 Page 22 of 25

THE RELIEF SOUGHT;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

THE PARTIES’ POSITION ON SETTLEMENT, INCLUDING PRESENT DEMANDS AND OFFERS, THE HISTORY OF
PAST SETTLEMENT DISCUSSIONS, OFFERS AND DEMANDS;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

PREFERRED TRIAL LOCATION, APPROXIMATE LENGTH OF TRIAL, AND WHETHER TRIAL IS JURY OR NON-
JURY;

___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
___________________________________________________________________
(use additional page if necessary)

       The Court requires that each party be represented at each pretrial conference by an attorney who has the authority
to bind that party regarding all matters identified by the Court for discussion at the conference and all reasonably related
matters including settlement authority.

        Copies of the settlement statement shall NOT be served upon the other parties. This document will not be filed and
will not be made available for public view.
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       Should the case be settled in advance of the pretrial/settlement conference date, counsel are required to notify the
court immediately. Failure to do so could subject counsel for all parties to sanctions.

Signature of Counsel:       _______________________________

Dated:                      _______________________________
                                               Case 1:19-cv-00332-FJS-CFH Document 28 Filed 05/04/20 Page 24 of 25



OAO 85 (Rev. 01-09) Notice, Consent and Reference of a Civil Action to a Magistrate Judge


                                                                          UNITED STATES DISTRICT COURT
                                                                                                        for the

___________________________________________________ District of __________________________________________________


___________________________________________________ )
               Plaintiff                            )
                   v.                               )                                Civil Action No.
                                                    )
___________________________________________________ )
               Defendant                            )


                     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a Magistrate Judge’s availability. A United States Magistrate Judge of this court is available to conduct all proceedings in this civil action (including a jury or
nonjury trial) and to order the entry of a final judgment. The judgment may then be appealed directly to the United States Court of Appeals like any other judgment of this court. A
Magistrate Judge may exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a Magistrate Judge, or you may withhold your consent without adverse substantive consequences. The name of any party
withholding consent will no be revealed to any judgment who may otherwise be involved with your case.

          Consent to a Magistrate Judge’s authority. The following parties consent to have a United State Magistrate Judge conduct all proceedings in this case including trial, the
entry of final judgment, and all post-trial proceedings.

          Parties’ printed names                                 Signatures of parties or attorneys                      Dates

____________________________________                     ____________________________________________             _________________________

____________________________________                     ____________________________________________             _________________________

____________________________________                     ____________________________________________             _________________________

____________________________________                     ____________________________________________             _________________________

                                                                                               Reference Order

        IT IS ORDERED: This case is referred to a United States Magistrate Judge to conduct all proceedings and order the entry of a final judgment in accordance with 28 U.S.C.
§636©) and Fed.R.Civ.P.73.
                                       Case 1:19-cv-00332-FJS-CFH Document 28 Filed 05/04/20 Page 25 of 25




Date:   ___________________________                           ____________________________________________________
                                                                            District Judge’s Signature

                                                               ____________________________________________________
                                                                             Printed name and title

Note:   Return this form to the clerk of the court only if you are consenting to the exercise of jurisdiction by a United States Magistrate Judge. Do not return this form to a Judge.
